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.‘~lhc'cl l m `___ l
`UNITED STATES DISTRlCT COURT
Westom Distriot of Wa_¢;hington
UNI'l`ED STATES Ol~` AMERICA J'UDGMENT IN A CRIMINAL CAS.E
V.
MATTI IEW' A_LEX ER]CKSGN ‘ n CBSB Nllmb€r: Cll{(}§-OOZGOL

USM Numbor: 35613~086

Kcl‘lnotl'l E. K:-mev
Defendant’s Ah:m-n=y

  

'l`I'IE DEFENDANT:

§ pleaded guilty 10 collnlfs} ]

 

mm pleaded nolo ooutoocloro m ccsunl.[s)

 

which W:iE accepted lle tl'llb uGuI[.

_l_:l was l`nu.n<ll guilty L'll'l lZ-Dunt{s;_]
al`t{.::' il plea of mfc guilty

 

   
  
  
 
   
 

Tl'n: defendant is adjudicated guilty ofl'lll::se ofl`ensosz
Tit_le & Sectio:l l\'-aturc of Offense U[l'en§e. Endecl §]g_:\_\_l_m

21 U.S,C,§ 341(3){1)1

34]{1_}){])(&)| and 346. (_,onspl_'racy to I)i:~‘_ml:»ute Cocame Baso 04!30£2005 1

Th.o defendant is sentenced as provided in pages 2 through 6 of this judgment 'I`he sentence is impo_~;od pm:suant to
the Sontc:nc:l'ng Refonn Act of` 1984 '

§ Tl\c dcfr:rn'_lant has been found not guilty on_ ooum(_s)

 

    
   
  

§§ Count(s) Zl.hruu_gho U is § aro dismissed on the motion of thcl]nited States.

_ _ ll is ordered dual thc defendant 1most notify the limited Slotes accorr_ley for this dis_:lr_i::t Wirhln 30 cia o of _:.-my change oflmmo, rosi:lm}cc_
or mailing address Lmnl_ ath ines, ;-¢_=,Sm-utmn__ mem and H>ecml assossmcnls nn used by tlusjudgmcot arc l`u ypsud. Iforderod m pay resimmc)n,
the dclc.-ndant must lundy Lho conn and Umted Statcs 'ttumcy ofmater:al c muges_ m ccnnurmo owcumst.anoos.

ry 545-pl
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Assiszam nil rates Arrome\y‘--*"

.Tuuo 19. 2006
Dato of lmposiljon of Jud;_m'lonl

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Sig:oa!ur:: of lodge

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umw null ull lull mm mn nllll gm ;q ,_;1 004

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m 2ij mem oenwudgmc“§mglmm|crhOOZGO RSL Document 136 Filed 06/19/06 Page 2 of 6

S'|'leet.. 'F- imprisonment

l udgrrlerll _ Pm_r_r: 2 nl` tp

DFZFENI)ANT: MATTHF'.W M.,EX l'."l'LICK.SON
CASE.N\_JMBER_.' CROS'-UUZGUL

IMPRISDNMENT

Tlie defendant is: hereby committed to tire custody cf the United States l.`Surcau of Prisons re he imprisoned for a_

total term nf: ?)§ 2 trroitths

f§\/ The court makes the following recommendations to the Burenn of Prisol'ls:
furtadqu ja 'li¥'l!r»\'hm»rl; F!z§}rum MP l M CM.
dewalt M;\ Wr?»fm seek ct MFW Teé¢l`<l_l.

<-» renew it…
l he defendant i_S icinnnded to Tl]_C ClJSt`-Od the Unit'ecl STB.teS MRI‘Sl'lal

§ Tlte defendant shell surrender to the Uni'ted Stctes Mershal for this (listricl:
|Tl at § a.l'n. § p.l'n. on

g as notified by the United F.tetes Mrtrshnl.

 

|l:l

T'ne defendant shall surrender for service oi` sentence et the institution designated by the Bttr¢n.n of I”rison'.-::
§ before 2 p_m, on
5 215 thtiHed by the United_ Stntes Marsl'letl.

§ ns notified by the F'roba.tion or Pretriztl Services OHice.

R`ETURN
l have executed tiltisjudgment as follows:

Defendent dclivcred on to

 

_. with a certified copy ofthisjutlgnient.

Et'ic E. l'{cbertson
lll`~liTF.D STATES l\/'[/\.l{Sl'lAl.

B_r

 

DEPUTY UNITED S'l`A'l"ES MARSHAL

 

 

 

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_lJEFEND_."l.N`l`: biATl"HEW rhth ER!CKS{_'JN
CA 3 Fs. l\'Ll M_BER; CHI}§ -OUEoOL

SUP.ERVISED R`ELEASE
tlpon release from imprisonmentl the defendant shall be on supervised release for a term oi": BH years
Thc defendant must report to thc probation ol`i'icc in thc districtto Which the defendant is released within '!2 hours of release from
the custody ofthe Bureau ot`Prisol'ls.
The defendant shall not commit another fcderal__ state or local crime

'l'hc defendant shall not unlawfully possess a controlled substance The defendant_shall refrain from any unlawful use ot`a
controlled substancel The defendant shall submit to one drug _a.ndlor lalcoliol test within 15 days ot release from imprisonment
and at least two periodic drug tests thereafter, not to exceed eight valid tests per rnonth_., pursuant to ill U-S.C. § 3553(;1)(5`)
and 13 U-S.C. §§533(:1`).

n The above drug testing condition_is sus lendecl, based on the courr’s determination that thc defendant poses a low rish ot`
_ future substance abuse (Checlr, 1|' app rcabl_e.)

The defendant shall not possess a iireartl‘i, ain_rnunition, destructive device_, or any other dangerous Wenpon. {Ch_cck, if

§ applicable.`)

pa `l`he defendant shall cooperate in the collection of DNA as directed by the probation ot`i`tccr. (Checlt, if'applicable.}
g ;l;:|ieferri;_;tsa:tgsll:§_£i:lni;e§iqst§:;;:(t:létll}r`c reggie sets ot"l`enc:cfer registration apency_in the`state where the defendant resi_des,
- , . , . _ pro arron o tcer. [Chccl:, i applicablc.,l

_L‘_l_ Thc defendant shall participate in art approved program 'l`or domestic violence (Checlt, it` applicahlc.')

Ii`Thisjud cut imposes s line or rcstjtu.tion, it is a condition oi`supcrvised release that the defendant pay in accordance
with the Sche u|c ol` Payrnents sheet of this yuciginent.

The defendant must comp ly 1with the standard conditions that have been adopted by this court as well as with any additional
conditions un the attached page

STANDARD CONDITIONS DF SUPERVTSION

l) the defendant shall not leave the judicial district without the pcnnissio_n ot` the court or probation oti"icer;

23 the defendant shall report to the probation ot`ileer and shall submit a truthful and corriplet.e written report within the first
live days ot` each month_',

3) tb¢;udet`cndanr shall answer truthfully all inquiries by the probation officer and follow the instructions of'the probation
ol" icer;

 

43 the defendant shall support his or her dependents and meet other family res ponsibilities;

_*i`) the defer-idant shall work regularly at a lawful occu_pati`on, unless excused by the probation ot`t`leer for schoolin_tj_;, tralnirig,
or other acceptable reasoning

6) the defendant shall notify the probation officer st least ten days prior to any change in residence or ernployr_u_ent;

?) the defendant shall refrain l'rorn excessive usc ot`alcoho_l and shall riot urchasc, possess, usc, distril_:_u_n_e1 or administer
any controlled substance or any paraphernalia related to any eontrolle suterritoriesl1 ca sept as prescribed try a
physicianj.

thc defendant shall not frequent places vvhere controlled substances are illegally sold, iisecl, distributed, or
adrninist_'ered;

‘_~Zi) thc defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation ot`n_cor;

l()) the defendant shall permit a probation officer to visit him or her at anyL time at home or elsewhere and shall permit
contiscation ot any contraband observed in plain view of the probation oi‘Ficer',

ll) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement ofticer_;

`l2) th_c defendant shall not enter into any agreement to act as an informer or a special agent otis law enforcement agency
without the permission ofthe court; and

l3) as directed by_the probation oil`icer, the defendant shall notify third parties of` risks that may be occasioned by the
dcfcndant's criminal rec_ord or personal history or characteristics and_sha|l permit the probation officer to malcc such
not.ilications and to confirm the detcndrun’s compliance with such notification requirement

 

 

 

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C..`.ASE N'l_llvlllijl{: CROi-OOZGOL

SI’ECIAL CC»NDITIONS OF SUPERVISION

'l`he defendant shall . articipate as instructed by the U.S. Probati`cn OHicer iri a program approved by the probation ol`i'icc i"or
treatment of narcotic ad iction dru f dependency, or substance abuse, which may include testirt to determine it` detciidtmt has
reverted to thc use ot` dru rs or alcoho[:l. rl'lie efendant shall also abstain from the usc of alcohol an or other1 intoxicants dui"hi tl£
_tct‘i’n of sii crvision. De endant must contribute towards the cost ot e.iii_tr pro grams, to e extent defen ant is financially able to do
so, as determined by the l.l.§~l. Probati`ori Ot`iicer.

   

The defendant shall submit to a search cf his or herpcrson, residence office, property, storage unit or vehicle conducted in a
reasonable manner and at a reasonable time by a probation oft'icer.

_ `l`lie defendant shall participate as directed iii a mental health program a reveal hy_thc Unit_ed Statcs Probation Oi`ficc, _Thc
detendanl. must contribute to Jards the cost of any prcgrarns, to the extent the efendant is financially able to do so, as determined
by the U.S. t*robation Ofiicer.

Tl'ic defendant chall provide his or her probation officer with access to an requested financial information including
authorization to conduct credit checks and obtain copies of the defendants F ederal come Ta‘ii 1iteturns.

Oe,§;ndlfn`l:- Slfl°tli t'l`.`.$l@l€, q‘l'.; 61 Cgmp'ivni*l;g liqli:'-Md lnct/s'q,§:={'-q Mcl:
cio Dl.ft‘l$} GLS clifka leva- 'l'-Lr. F'bl=-t'l§itr'*t}l:'l'_ii§€..

 

 

 

 

 

mw 06,05) Judgn§;lq§‘q S;Q§n-,QL;QOZSO-RSL Document 136 Filed 06/19/06 Page 5 of 6

 

 

 

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S'n::er 5 _ fjriminul Monetury l‘cnn'nire a
ludgmenr: ['age 5 of ri

f|`_JEl-`ENDAN'l`: MAT]"HEW ALRX ER|CKSON

C.`.A SE `NUM EER: C'-itUS-UU%UI..

CIU MINAL M.DNETARY PE.NALTIES
Assessment_. Fige M§titutiun_
'.l`OTALEi 5 l 00 $ Waived $ NFA

[,;[ Tl')e determination of restitution is deferred until _ An Amene'ea' .}nn‘grnen! in n Crnnfnnf C.n.re (A() 245{1} will be
entered alter such determination

Cl The det`endnnt must malice restitution f including community reetitutiou`) to the following payees in die amount listed below.

lft]re defendant makes n partial payment eeeh pe¥ee shell receive an approximately Frngortioned }ey'inenu unless specified otherwise in
the_priority order or percentage payment eolunin elow. Howev'er_, pursuant tn 13 l_ -S. . § 366461_`5, ell nonfederal victims inure be paid
before tile limited .‘§te.tee 15 piiid.

 

§~lime of I-’nye§ 'l`ot.'-_ljl looss* R_CS~\.§£“_“L._(_MFL-d Prioritv or I-‘ereent;ige_.
See Attaehed

“Additionn.l Reel.itution Peyeee"

TO'I`ALS 5 0 -°B 0

l:l Restitution amount ordered pursuant rn plea agreement 3

 

l“:l_ T'lie defendant must pay interested restitution and e line ol`more than $2,50{), unless the restitution or fine is paid in full l)et'nre the
fifteenth dayel"ter the date ofthejudgrnent. pursuant to lll U.S.C. § 3612{1`). All oflhe payiuenroptione en Sheet 6 may be sub_ieel
to penalties for delinquency and del`ni.ilr_n pursuant co lS U.S,.C. § 3612(g).

ll]

'l`he eourt determined mut the defendant dees nor have the ability to pay interest and il is ordered than

ij the interest requirement is waived l`or the § fine § restitution

§ the interest requirement for the § fine § restitution is modified ne follower

'I`he court linde that the defendant is linencinlly unable and is unlikely te become able to ney e fine und, aecordinnly, 'lhe imposition nl`
§ n line is Wnived v

"° Findingr ll"nrtlie total amount oflose_'es ere required under Clrunters ]lJQA, l l{l, l lOA, and l 13A ol`Title 18 for offenses committed nn or after
SEpternlJr-:l' 13, ]994, but before Apr]] 23: 1995.

 

 

 

 

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AO 245H (l?.c\»'. 06!|)5) judgment in a Crii-ninr.if Case
Sliec'.l (i --- Seltet'|ule ol’ l’aynicnts

Jin'|gnteiil-- i-‘sge § oi' ii w__,_
DEFENDAN'I`: h)lA'l"l`HEW AL]"L`K ERlCKSON
CASE NUMB`ER: CRUS-UDZBOL

SCHEDULE OF PAYMENTS

l-la‘ving assessed the dci`endaiit’s ability to pay, payment ot` the total criminal monetary penalties are due as follower

g l".dt\’l\/.l ENT 13 Dll Ei IMM`EI__`_J]ATELY. Aiiy unpaid amount shall be paid to Clerlt's i`_lf”iice, United Stat'es Distriet Coui't,
_ 700 Stewart Street_. Sea.ttle, WA 93101.

Du_ring the period ot` iiiiprisonment, no less titan 25% of their initiate gross montiil `incor_ne or $25.0il per ciiarter,
_ whichever is greatet, to be collected and disbursed in accordance with the lnmatc minimal Rcsponsitiii,ity "rograrn,

DuriiipJ the period ol" supervised rcloase, in monthly installments amounting to n_ot less than l[l% ot`the defendants
gross ri\onthl),r |iooscho d in_coine, to commence 30 days after release from imprisonment

Durin i the period o'l_" probation, in monthly installments alitounlin§§ to_not less ll'ian ll}% ot`ilie defendants gross
month y household lticome, to cot\'utienoe 30 days after the date o this judgment

'l`lie payment schedule above is the minimum amount that the dcfendruit is expected to ny towards the inor.ietartv_
pena ties imposed by the (_§oitrt. Tlie defendant shall pay more them the amount csiablisl:ed wl_ic'never possible l`he
defendant must notify the Courl, the Unltcd States `l'robation Cll"f'tcc, and t"lte United Statcs }‘tttorney's Ol"i'ice ot` any
material change in the defendants financial circumstances that might affect the ability to pay restitution

Un less the court lies expressly ordered otherwise, ii"thisjud.gmcnl. imposes imprisonment payment oft:r_iniinal monetary 'ienalties
is due duringimprisonment Allcrirninalntonctary penalties1 exec tthose gaymcnlsmadethrouglt tl'ieFedei'al Bureauo Prisoos’
initiate Pinaiicial Rcspoii.sibility Prog,ra'm are made to the l,lnitc States istriet Court, Western District of Washiugton. For
restitution pavnients, the C|erlc of the Court is to forward money received to the party{ies) designated to receive restitution
specified on 'llte Crimi_ruil Monetaric$ (Slieet 5) page

The tleFeiidaiit shell receive credit for all payments previously made toward any criminal monetary penalties imposed

lt`“] .loiiit and Several

Dcl`endant and Co~Defendant Naines and Case Nuniliers {including defendant nui"nber)_1 Tol'al r-'tinount1 _loint and Several
and corresponding payee, if appropriate

§ T|'ie defendant shall payl thc cost of prosecution
§ The defendant shall pay the following court
§ "['lte defendant shall forfeit the defendaul`s interest in the following property to the United Statcs;

P*aynient_s shell be applied in the following order1 (l`i assessment, (2) restitution principal, (3) restitution interest1 (:4) line pririeipa.l_.
[_J) line interest, (6) community restitution, (7) penalties end (S`) costs1 including cost ot"prosecution and court costs.

 

 

